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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 Karen Wells and Andre Locke, as co-               Case 23-CV-273 (WMW/JFD)
 trustees for the next of kin of Amir
 Rahkare Locke, deceased,

                     Plaintiffs,

       vs.
                                             DEFENDANTS’ MOTION FOR
 Mark Hanneman, in his individual          JUDGMENT ON THE PLEADINGS
 capacity as a Minneapolis police
 officer, and the City of Minneapolis,

                     Defendants.


      Defendants, Mark Hanneman and the City of Minneapolis (collectively and

hereinafter “Defendants"), hereby move this Court for judgment on the pleadings

pursuant to Federal Rules of Civil Procedure 12(c) for an order dismissing

Plaintiffs’ Complaint in its entirety.

   This motion is made upon all the files, records, and proceeding herein,

including all arguments of counsel at the hearing on this motion scheduled for July

27, 2023 at 9:00 a.m. before the Court.
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Dated: June 15, 2023                KRISTYN ANDERSON
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